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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                        Case No.: 1:21−cr−00618
                                                          Honorable Martha M. Pacold
Charles Liggins, et al.
                                         Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, December 11, 2024:


        MINUTE entry before the Honorable Martha M. Pacold: as to Ralph Turpin: The
sentencing hearing set for 1/14/2025 is stricken and reset to 8/26/2025 at 10:00 a.m. in
Courtroom 2325. Presentence Investigation Report (PSR) is due by 7/1/2025. Objections
to the PSR are due by 7/23/2025. Responses to the objections are due by 8/6/2025. (rao, )




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